 

 

 

 

 

Case: 1:91-cv-02092 Document #:..321 Filed: 03/23/00.Page 1 of 33 PagelD #:1

yf

Minute Order Form (06/97)

United States District Court, Northern District of [linois

 

 

 

 

 

 

 

Se CE SE, Se

 

 

 

ff)
Name of Assigned Judge ica R. Pallmeyer Sitting Judge if Other
or Magistrate Judge “ ° than Assigned Judge
CASE NUMBER N 91 C 2092 DATE 3/23/2000
CASE Alexander Binzel Corporation, et al vs. Nu-Tecsys Corporation, et al
TITLE
{In the following box (a) indicate the party filing tite motion, ¢.g., plaintiff, defendant, 3rd party plaintiff, and (b) state briefly the nature
f the motion bei
MOTION: of the motion being presented.]
DOCKET ENTRY:
(1) O Filed motion of [ use listing in “Motion” box above.]
(2) O Brief in support of motion due
(3) O Answer brief to motion due . Reply to answer brief due
(A 0 Ruling/Hearing on set for at
(5) Oo Status hearingfheld/continued to] [set for/re-set for] on set for at
(6) Oo Pretrial conference[held/continued to] [set for/re-set for] on set for at .
(7) Oo Trial[set for/re-set for] on at
(8) Oo [Bench/Jury trial] [Hearing] held/continued to at
(9) O This case is dismissed [withAvithout] prejudice and without costs[by/agreement/pursuant to]
OFRCP4(m) (General Rule2] OFRCP41(a\(1) O FRCP41(a)(2).
ao) «xf {Other docket entry] Enter Memorandum Opinion and Order. Enter Memorandum Opinion and Order.
Binzel U.S.’s motion to amend the judgment (Doc. 297-1) is granted; Binzel U.S.’s motions for judgment as a
matter of law (Doc. 298-1) and a new trial (Doc. 298-2) are denied; and Nu-Tecsys’ motions for attorneys’ fees
and enhanced and punitive damages (Doc. Nos. 314-1, 2, 3) are denied. The court further orders that judgment
against Binzel Germany be vacated, and that the award be reduced from $4 million to $2.34 million. Both parties’
motions for directed verdict (Doc. 289-1) and (Doc. No. 290-1) are denied as moot. Finally, Nu-Tecsys’ motion
to lift the stay of judgment (Doc. 319-1) pursuant to FED. R. Crv. P. 62(b) is granted without prejudice.
(ll) [For further detail see order attached to the original minute order. ]

 

 

 

 

 

No notices required, advised in open court.

 

No notices required.

 

/ | Notices mailed by judge’s staff.

 

Notified counsel by telephone.

 

Docketing to mail notices.

 

Mail AO 450 form.

 

Copy to judge/magistrate judge.

 

 

 

courtroom
ETV deputy’s

 

 

 

 
 
 
 

 

 

 

 

 

 

 

 

 

 

5

 

 

 

 

 

 

 

 

 

humber of notices

 

“ght Wd 62 8iHO0

 

initials

 

 

Date/time received in

 

central Clerk’s Office

R 242000

date docketed

 

     
      

docketing deyuty initials

3/25/2000

date mailed notice

ETV

mailing deputy initials

 

 
 

a daa Tp Sik lab ad EE ee

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00, Page 2 of 33 PagelD #:2

‘ 4

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
ALEXANDER BINZEL CORPORATION )
AND ALEXANDER BINZEL GMBH & )
CO., KG, )
)
Plaintiffs/Counter-Defendants, )
)
v. ) No. 91C 2092

)

NU-TECSYS CORPORATION AND ) Judge Rebecca R. Pallmeyer
KARL-HEINZ BINZEL, )
Defendants/Counter-Plaintiffs. )

MEMORANDUM OPINION AND ORDER
The parties to this case are a well-known German manufacturer of welding equipment

and an American corporation established by the son of the German company’s founder. On

- April 8, 1991, Alexander Binzel Corporation (“Binzel U.S.”) and Alexander Binzel GmbH

(“Binzel Germany”) sued Nu-Tecsys Corporation (“Nu-Tecsys”) and its President, Karl-Heinz
Binzel (“Karl-Heinz”) alleging Lanham Act violations, common law trademark infringement,
unfair competition and violations of the Illinois Uniform Deceptive Trade Practices Act.
Binzel’s claims related to Nu-Tecsys’ production and sale of high-tech welding guns. Nu-
Tecsys filed four counterclaims, alleging violations of the Lanham Act, common law unfair
competition, violations of the Illinois Uniform Deceptive Trade Practices Act and Illinois
Consumer Fraud and Deceptive Business Practices Act, and intentional interference with
prospective economic advantage. Nu-Tecsys’ claims arise from Binzel U.S.’s distribution of

a disparaging letter at a trade show resulting in business detriment to Nu-Tecsys. After the

or
 

 

Case: 1:94-cv-02092 Document:#: 321 Filed:-03/23/00 Page 3 of 33:PagelD #:3

s

jury rendered a verdict against Binzel USS. on its claims and in favor of Nu-Tecsys on its
counterclaims, Binzel U.S. moved to amend the judgment, for judgment as a matter of law
on Nw-Tecsys’ counterclaims, or in the alternative, for a new trial. Nu-Tecsys simultaneously
- filed post-trial motions seeking enhanced damages, punitive damages and attorneys’ fees. For
the reasons set forth below, Binzel U.S.’s motions for judgment as a matter of law and for a
new trial are denied and its motion to amend the judgment is granted; Nu-Tecsys’ motions
for enhanced and punitive damages and fees are denied.
| FACTUAL BACKGROUND

The protracted procedural history relating to this dispute between Karl-Heinz and the
company founded by his father has already been set forth by this court in its earlier ruling
on Plaintiffs’ motion to dismiss and Defendants’ motion for summary judgment. See Binzel
v. Nu-Tecsys Corp., No. 91 C 2092, 1999 WL 166972, at *1 (N.D. Ill. Mar. 23, 1999).
Furthermore, the parties are familiar with the facts as they were presented at trial. For
purposes of this opinion, the court will now focus only on the facts that relate to Nu-Tecsys’
counterclaims. Moreover, references in this opinion to “Counter-Defendant” are references
to Binzel U.S. only; likewise, references to “Counter-Plaintiff” are references to Nu-Tecsys
- only.’

Binzel U.S. is the United States distributor and assembler of genuine Binzel welding _

 

t As discussed infra, the jury rendered a verdict in favor of Defendant Nu-Tecsys
Corporation only. The jury concluded, further, that Binzel Germany was not liable for the
wrongful conduct alleged by Nu-Tecsys. (Verdict Form.)

2
 

ee ea bee Eee i dda eid oak be ee

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 4 of 33 PagelD #:4

os

equipment manufactured by Binzel Germany. Karl-Heinz is the former president and part-
owner of Binzel U.S., and is now the president and owner of Nu-Teesys, a corporation he
established in 1986 to manufacture and sell welding guns. (r r. 522-24.) From 1986 until early
1990, Binzel Germany, and Binzel affiliates in Scandinavia and Australia supplied Binzel parts
and complete welding equipment to Nu-Teesys, which Nu-Tecsys sold to the consumer
market. (Tr. 526-27.) In September 1990, Nu-Tecsys began manufacturing and selling
Metallic Inert Gas (“MIG”) welding guns, a type of welding gun that Binzel U.S. also
manufactured, (Tr. 586, 591.) In this lawsuit, filed April 8, 1991, Binzel U.S. claimed trade
dress rights in the shape and color of Nu-Tecsys guns, and alleged that Nu-Tecsys infringed
on its MIG design. |

Nu-Tecsys filed unfair competition counterclaims against Plaintiff. At trial, Nu-

_ Tecsys presented three principal pieces of evidence to establish Binzel U.S.’s anti-competitive

conduct. First, Binzel U.S. distributed a letter at a trade show in Detroit, Michigan, on April
16, 1991 (the “Detroit Letter”). (Def. Ex. 1001) The letter contained three phrases which
Nu-Tecsys alleged were false and misleading: (1) “The MIG guns marketed by Nu-Tecsys [sic]
Corporation are not produced or endorsed by Alexander Binzel Corporation of Frederick,
Maryland[;]” (2) “This action was taken to protect users of original Binzel MIG guns from
counterfeit product[;]” and, finally (3) a description of Binzel U.S.’s exclusive rights to
distribute “copies and/or colorable imitations of the red-handled and blue-handled Binzel
MIG welding tools and other Binzel trade dress, the Binzel model and part numbers, and

products partially assembled from Binzel parts.” (Id.) Nu-Tecsys also argued that testimony

3
 

 

 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 5 of 33 PagelD #:5

_ by William Bridges (“Bridges”), the former president of Binzel U.S., evidenced Counter-

Defendant’s anti-competitive conduct. Specifically, Nu-Teesys points to Bridges’ testimony
that he “intimated” to customers that they would be “cut-off” if they purchased goods from
Nu-Teesys, and that throughout his tenure at Binzel U.S., he “never” stopped making such
intimations. (T r. 885-86.) Finally, when questioned about whether he was involved in the
production of any letters containing such intimations, Bridges testified that he was not. (Tr.

887-88.) Nu-Tecsys impeached Bridges on that testimony by producing a letter distributed

by Binzel Canada (Def. Ex. 1122) (the “Canada Letter”), and drafted by Bridges in his own

handwriting. (Def. Ex. 1123.) Nu-Tecsys argued that this letter, which read, “I wish to

inform you of some recent developments that could seriously impact your business and your
relationship with our joint customers,” constituted unfair competition. (Tr. 1297.)

The jury entered iudgment in favor of Nu-Tecsys on its counterclaims and awarded
damages in the amount of $4 million. The $4 million wadgment consisted of $1.81 million in

Nu-Tecsys’ lost profits and $3.03 million in Binzel U.S.’s wrongful profits, reduced by the

jury to $4 million to account for any overlap. It is this judgment and damages award that

Binzel U.S. now challenges.
DISCUSSION ~
A number of post-trial motions are before the court. The court will address each in
turn.
I. Counter-Defendant’s Motion for Judgment as a Matter of Law

Binzel U.S..urges this court to enter judgment in its favor on Nu-Tecsys’

4
 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page:6-of 33-PagelD #:6.. .-.

counterclaims, arguing that the factual bases for the jury’s finding of liability are insufficient

as a matter of law to support the jury’s verdict. Specifically, Binzel U.S. argues that the
Detroit Letter provides no basis for liability, first, because it was issued as publicity incidental
to the lawsuit, and is therefore privileged by the Noerr-Pennington doctrine, and, second,
because the statements in the letter were not false or misleading. Next, Binzel U.S. argues
that Bridges’ “intimation” testimony is insufficient to sustain a verdict of unfair competition
or intentional interference with Nu-Tecsys’ prospective economic advantage because a
manufacturer has the freedom to exercise discretion in deciding with whom to deal.

A. Standard of Review

Judgment as a matter of law is appropriate when “a party has been fully heard on an
issue and there is no legally sufficient evidentiary basis for a reasonable jury to find for that
party on that issue.” FED. R. Civ. P. 50(a)(1); see also Lane v. Hardee’s Food Systems, Inc., 184
F.3d 705, 706 (7th Cir. 1999). When deciding a motion for judgment as a matter of law, the
court may not resolve any conflict in the testimony nor weigh the evidence. Seeid. Instead,
the court must view the evidence, including all reasonable inferences, in the light most
favorable to the nonmoving party, and determine whether substantial evidence, and not a
mere scintilla of evidence, could support a jury verdict. See Willis v. Marion County Auditor's
Office, 118 F.3d. 542, 545 (7th Cir. 1997). Nevertheless, if “there is any basis upon which a
reasonable jury could reach the conclusion that it did,” the verdict must be upheld. See

Frazier v. Norfolk & W. Ry. Co., 996 F.2d 922, 924 (7th Cir. 1993).
 

 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 7 of 33 PagelD #:7

Pe

B. The Detroit Letter and the Noerr-Pennington Doctrine
Binzel U.S. argues that Nu-Tecsys’ counterclaims are barred by the Noerr-Pennington

doctrine because the lawsuit itself and any incidental publicity, namely the Detroit Letter,

_ are privileged activity. The Noerr-Pennington doctrine provides immunity from liability

arising out of the filing and maintaining of a civil lawsuit, so long as the litigation is not a
sham. See Professional Real Estate Investors, Inc. v. Columbia Pictures Indus., Inc., 508 US. 49,

56-57 (1993). The Supreme Court has defined “sham” litigation as involving a lawsuit that

~ is both (1) objectively baseless, and (2) intended as an anticompetitive weapon. See id. at 60-

61.

Most courts to consider the issue have extended Noerr-Pennington immunity to shield
non-judicial acts that are “reasonably and normally attendant upon protected litigation.” See,
e.g., Matsushita Elecs, Corp. v. Loral Corp, 974 F. Supp. 345, 359 (S.D.N.Y. 1997) (extending
immunity to infringement warning letters sent to customers of defendants) (quoting Coastal
States Marketing, Inc. v. Hunt, 694 F.2d 1358, 1367 (5th Cir. 1983) (citing cases)). Some cases

have extended the immunity to attendant publicity and to letters threatening court action.

_ See, e.g., Cardtoons, L.C. v. Major League Baseball Players Ass’n, 182 F.3d 1132, 1136 (10th Cir.

1999) (extending immunity to letters threatening suit for alleged infringement); Thermos

Co. v. Igloo Products Corp., No. 93 C 5826, 1995 WL 842002, at *4-5 (N.D. Ill. Sept. 27, 1995)

- (extending immunity to cease and desist letters sent to alleged infringers); Aircapital

Cablevision, Inc. v. Starlink Communications Group, 634 E. Supp. 316, 325-26 (D. Kan. 1986)
(extending immunity to press releases publicizing the lawsuit and threatening further legal
 

 

fo ab Rin tte alee ie da a Be

 

 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 8 of 33 PagelD #:8

action). But see Laitram Mach., Inc. v. Carnitech A/S, 901 F. Supp. 1155, 1161 (E.D. La. 1995)

(“The Noerr-Pennington doctrine does not extend to sending letters to a competitor’s
customers alleging violation of trade secrets and infringement of patents.”). In instances
involving attendant publicity, a party ho “has probable cause to threaten litigation and.
makes no assertions beyond the legal and factual bases [of the suit] may enjoy Noerr-
Pennington immunity[.? See Cardtoons, 12 F.3d at 1139.

Binzel US. contends that the Detroit Letter was issued to Nu-Tecsys’ customers
incident to the lawsuit, and therefore is not actionable, To the extent that Nu-Tecsys suggests _
that the lawsuit was “sham” litigation, the court finds this argument untimely. At trial, Nu-
Tecsys disavowed any such claim in open court, and conceded that a finding of liability on
the counterclaims cannot be based merely on the filing and maintenance of the lawsuit.? (Tr.
968-71 (“[T]he bringing of the suit itselfis not part of this case[.]) .) The remaining question,
then, is whether the statements in the Detroit Letter constitute assertions beyond the legal
and factual bases of the lawsuit, and are therefore not privileged. |

Nu-Tecsys contends that the Detroit Letter is not entitled to Noerr-Pennington

immunity for three reasons: (1) Binzel U.S. falsely claimed exclusive rights in its trade dress;

(2) the statement that Binzel U.S. did not produce or endorse the welding guns marketed by

Nu-Tecsys is misleading; and (3) Binzel U.S.’s characterization of Nu-Tecsys’ products as

 

2 The court notes its discomfort in considering the possibility that a lawsuit that
has clogged the federal court system and absorbed the attention of several lawyers and judges
for nearly ten years could be a sham.
 

-Case: 1:91-cv-02092 Document #: 321-Filed: 03/23/00 Page 9 of 33 PagelD #:9

“counterfeit” is false. These arguments implicate the merits of Nu-Tecsys’ counterclaims, and
therefore, the court will consider the jury’s finding of liability on these issues.

C. Evidence Supporting Jury’s Lanham Act Finding

In order to prevail on its Lanham Act claim, Nu-Tecsys was required to show that the
Detroit Letter was “literally false, or if literally true or ambiguous, that it [was] ‘misleading
in context, as demonstrated by actual consumer confusion.” See BASF Corp. v. Old World
Trading Co., 41 F.3d 1081, 1089 (7th Cir. 1994) (quoting Abbott Laboratories v. Mead
Jobnson & Co., 971 F.2d 6, 13 (7th Cir. 1992)). The court instructed the jury on this standard,
as well as on the Noerr-Pennington defense (Tr. 1315, 1318, 1327.) The court also
instructed the jury on the right of a trademark owner to defend against infringement as
follows:

the owner of a trademark or trade dress has a right to defend itself against

infringement and to warn purchasers from an alleged infringer that they, too,

might be held liable. That right, however, is limited. A trademark or trade

dress owner may not send out infringement letters that contain false statements

or that are issued in bad faith. Whether that portion of the letter was proper

does not depend on the merits of [Binzel U.S.’s] claim, as long as [Binzel U.S.]

believed at the time the letter was sent that its claims were meritorious.

(Tr. 1317.) In answer to specific interrogatories, the jury found that the Detroit Letter

 

° Both parties spend some time arguing whether erroneous jury instructions are
sufficient to warrant judgment as a matter or law, or whether a party waives this post-trial
argument when that party failed to object to the instructions at the time they were given.
In fact, the jury was instructed only on the “sham” portion of the Noerr-Pennington defense,
and not on the attendant publicity theory. Oddly, Binzel U.S. never argues that the judge
improperly instructed the jury on the Noerr-Pennington defense. Indeed, Nu-Tecsys corrected
the court on the Noerr-Pennington defense, and the court reinstructed the jury, still omitting
the attendant publicity theory, without objection from Binzel U.S. (Tr. 1325-27.)

3
 

 

 

 

 

 

 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 10 of 33 PagelD #:10

contained false or misleading statements, that it contained disparaging statements, and that

the statements were made in bad faith. (Verdict Form, Questions B1-B3.) If there is a legally

sufficient basis for a reasonable jury to find Lanham Act liability, and to reject both the

Noerr-Pennington defense, and the right of a trademark owner to defend itself against
infringement, the verdict will stand.

The Detroit Letter stated: | “This action was taken to protect users of original Binzel
MIG guns from counterfeit product.” Focusing on the term “counterfeit,” Binzel U.S. argues |
that the statement is not false because the term denotes “not genuine or authentic” as defined
by Webster's Third New f nternational Dictionary. In other words, Binzel US. argues that Nu--
Tecsys” product yas counterfeit, or inauthentic, because it was made with Binzel parts. Nu-
Tecsys counters, arguing that the term has a common sense meaning of “fake,” a meaning the
jury could have adopted in making its liability determination.

During the hearing on instructions for the jury, the court rejected Binzel U.S.’s
attempt to enter a “legal” definition of the word “counterfeit” in the jury charge. Instead, the
court ruled that the meaning of counterfeit was a matter for argument. (Tr. 1172-75.) Binzel
US. offered the dictionary definition into evidence, and the court took judicial notice of that
definition. (Tr. 1001-02.) In making its closing arguments, Binzel U.S. argued that this
definition that should apply to the statement in the Detroit Letter. (T r. 1252 (“[T]his looks
like a genuine Binzel gun, but it’s not genuine or authentic. It’s not the real thing. It fits
within the definition of counterfeit.”).) Nw-Teesys | argued what is characterizes as the
“common sense” meaning; that the guns were genuine Nu-Tecsys guns with some Binzel

9
 

ek ein A, RE Sahl ee eae te

 

--Case: 1:91-cv-02092 Document #: 321 -Filed: 03/23/00:Page.11-of 33 PagelD #:11

parts, not fake Binzel uni; (T t 49.50, 1267 (What do you think of when you hear
counterfeit? . . Fake... [Y]Jou don’t need a dictionary to know what counterfeit means.”).)
The court further instructed the jury to consider the evidence “in light of your own
observations and experiences in life.” (Tr. 1306.) i

The jury was free to adopt the common sense meaning, and find the statement in the
letter to be actually false, and therefore actionable under the Lanham Act. A reasonable jury

could have found that Binzel U.S.’s label of Nu-Teesys’ product as “counterfeit” was literally

false. The counterfeit statement in the Detroit Letter supports a finding of liability.

Notably, Binzel U.S. never alleged that Nu-Tecsys engaged in counterfeiting. (Def. Exs. 1067,
1068; Tr. 50-51, 868.) Therefore, because the court has determined that the jury could
reasonably conclude that the counterfeit statement was literally false, and because Binzel U.S.
never charged Nu-Tecsys with counterfeiting Binzel guns, Binzel U.S. made assertions in the
Detroit Letter that go beyond the legal and factual bases of the suit. Therefore the Detroit
Letter is not entitled to Noerr-Pennington immunity See Cardtoons, 182 Bd at 1139.

a With respect to the counterfeit statement, Binzel USS. makes a last ditch effort after

the trial to argue that the statement is not actionable under Illinois law on unfair

' competition, product disparagement or intentional interference with prospective economic

advantage. Binzel U.S. contends that the counterfeit statement is one of opinion, and cannot
therefore form the basis of a fraud action. See Soderlund Brothers, Inc. v. Carrier Corp., 278
Ill.App.3d 606, 620, 663 N.E.2d 1, 10-11 (1st Dist. 1996).

Relying on a number of distinguishable cases, Binzel U.S. suggests that the Detroit

10
 

eek Meade ASR ge

Bae

ce rinebadd ian is eet, HR a,

ph i

Dat ie hie pe ab ecm coed

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 12 of 33 PagelD #:12

+

Letter employed the art of hyperbole in referring to the Nu-Tecsys product as counterfeit.

In Phantom Touring, Inc. v. Affiliated Publications, 953 F.2d 724, 729 (Ast Cir. 1992), the

statements challenged by the plaintiff appeared in a “regularly run theater column, a type of
article generally known to contain more opinionated writing than the typical news report.”
(rofersing to language describing a production of Phantom of the Operaa as “a rip-off, a fraud,
a scandal, a snake-oil job ’); accord McCabe v. Rattiner, 814 F.2d 839, 842 (1st Cir, 1987)
(statements in a newspaper article used a style that “puts ‘the reader on notice that the author
is giving his views... untikely to convey the impression that an imprecise and unverifiable |
statement is meant to be a statement of fact. ” In Coastal Abstract Serv., Inc. v. First Amer.
Title Ins. Co., 173 F.3d 725, 731 1 60h Cir. 1999), the court held that the statement that a
competitor \ was “too small” to handle a ge secount was s*vagu and subjective. In the same
case, the court held that the statement shat the competitor’ was not “paying its bills” was
actionable under the Lanham Act. See id. at 732.

All of these statements in the cited cases are distinguishable from the counterfeit
statement made in this case. The Detroit Letter exhibited an entirely factual tone, and the
counterfeit statement is embedded within that context. Indeed, Bridges specifically testified

that it was written to “set the facts straight.” (Tr. 953.) In cataloguing the events and actions

~ of the pending litigation, the Detroit Letter explained to Nu-Tecsys customers that “[t]his
action was taken to protect users... from counterfeit product.” Nothing in that statement,

especially in the context of the Letter as a whole, hints at hyperbole or opinion.

Because the court has concluded that the counterfeit statement in the Detroit Letter

11
 

 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 13 of 33 PagelD #:13

supports a verdict finding that the letter contained false statements, and that the Letter is not
entitled to Noerr-Pennington immunity, the court need not determine whether the other two
statements at issue were false or misle ading. Therefore, the court need not determine whether
Nu-Tecsys made a showing of actual consumer confusion. See B. Sanfield, Inc v. Finlay Fine
Jewelry Corp, 168 F.3d 967, 971-72 (7th Cir, 1999) (atom omitted),

D. Evidence Supporting Jury’: s 5 Verdict on , Hlinois Unfair Competition and
Tortious Interference Claims

Binzel U.S. next argues that the intimations made by Bridges to Nu-Tecsys distributors
and customers constituted privileged acts of competition. Nu-Tecsys counters that the
Detroit Letter alone supports 4 finding of liability on these claims, but that evidence of
intimidation on the part of Binzel U.S. further supports that finding.

On Nw-Tecsys” claim for unfair competition and intentional interference with
prospective economic advantage, Nu-Tecsys had the burden of proving that (1) Nu-Tecsys
had a reasonable expectation of entering into a valid business relationship; (2) Binzel U.S.
knew of the prospective business relationship; (3) Binzel U.S. purposefully interfered to
defeat or diminish this legitimate expectation; and (4 (4 ) the interference caused damages to Nu-
Tecsys. See Soderlund, 278 Ill. App.3d at 615, 663 N.E. od at 7-8. There is a privilege to engage
in business and to compete, so long as when diverting business from a competitor, one is not
solely motivated by ill will. Id. Acts of competition which are never privileged include
fraud, deceit, intimidation or deliberate disparagement. See id. 278 Ill.App.3d at 618, 663

N.E.2d at 8.

12
 

pAb eet

willie aie ee,

sa ABATE

shied eden at knw

Gites clabes ee ase oe feo

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 14 of 33 PagelD #:14

2

The parties do not appear to disagree that Nu-Tecsys met its burden with respect to

the first two elements of the cause of action. Karl-Heinz testified at length about his

_ expectations of making MIG gun sales to existing and new customers. (Tr. 729-40, 764-72.)

Bridges knew that many of Nu-Tecsys’ existing and prospective customers would be in
attendance at the Detroit Show; indeed, the Detroit Letter was addressed to Exhibitors at the
show. (Tr. 845; Def. Exs. 1001, 1066.) Where the parties disagree is whether the jury could
have reasonably concluded that Binzel U.S.’s activity constituted purposeful interference or
. protected competitive activity. |
Relying onA ~Abart Elec Supply, Inc. v. Emerson lec Co., 956 F.2d 1399, 1405 (7th Cir.
1992), Plaintiff, without referring at all to the Detroit 1 Letter, argues that Bridges’ *intimations
fall within the competitor's business exception. AAbart involved a defendant retailer who
told a manufacturer it would not carry its new product line if such products were also to be
made available through its competitor, plaintiff retailer. See id. at 1401. The Seventh Circuit
held that defendant’s activity of advancing its interests at the expense of its competitor fell
within the competitor’s privilege exception to the tort of intentional interference with
prospective economic advantage. See id. at 1405. The court is inclined to age with Binzel
US. that Bridges’ intimations that distributors would be cut off if they dealt with Nu-Tecsys

are similar to the activity found to be privileged in A Abart. Nu-Teesys did not establish that

~ Binzel U.S. acted solely with ill will; the evidence shows that Binzel U.S. had an across-the-

board policy barring distributors from promoting a competitor’s product. (Tr. 922-925.)

Nevertheless, Nu-Tecsys argues that the jury could have concluded that the Detroit

13
 

wehbe mda hale ae wd eet toe Oo:

tea ewe

 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 15 of 33 PagelD #:15 -

Letter alone met the third clement of the intentional interference with prospective economic
advantage and unfair competition causes of action. Binzel U.S. does not rebut this argument,
and the court finds it persuasive. As discussed earlier, the evidence supports a finding that the
Detroit Letter contained false information. Deceit or fraud is never a protected business

activity. “See Soderlund, 278 Ill. App. 3d at 616, 663 N. E.2d at 8. Moreover, Karl-Heinz

__ testified that Binzel U.S. employees ‘ ‘stormed? the Nu-Tecsys booth at the Detroit show,

causing existing and. prospective customers to leave. (Tr 980-83.) A reasonable jury could
have inferred that Binzel U. S. either intimidated these: customers, or disparaged Nuw-Tecsys,
both unprivileged business activities. See Soderlund, 2 278 tL App.3d at 616, 663 NE.2d at 8.

Finally, with respect to the damage element of the claims, Karl-Heinz testified
regarding Nu-Tecsys’ decline in sales and poor performance beginning with the Detroit show.
(Tr. 728-44, 764-72.) Therefore, the court concludes that sufficient evidence, based solely on
conduct surrounding the Detroit show, supports the jury’s finding of liability on Nu-Tecsys’
unfair competition and tortious interference counterclaims.

E. _ Evidence Supporting Finding on Consumer Fraud Act and Bad Faith

The elements of a claim under the Illinois Consumer Fraud Act are the same as those
under the Lanham Act with the added element that the tortfeasor intend that consumers rely
on the deception. See Thacker v. Menard, Inc., 105 F.3d 382, 386 (7th Cir. 1997) (listing
elements of cause of action under the Illinois Consumer Fraud Act). Binzel U.S. argues that
because Nu-Teesys failed to show that the Detroit Letter was false or misleading under the
Lanham Act, this Illinois law claim is not supported by the evidence. Because the court has

14
 

 
 

SEM Ge a Re ces SRE 2 SE ee ee

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 16 of 33 PagelD #:16

already determined that a reasonable jury could have found the counterfeit statement in the

- Detroit Letter false, the court will consider whether the evidence supports a finding that

Binzel U.S. intended that customers rely on the statements. With regard to intent, the jury
specifically found that the statements in the Detroit Letter were made in bad faith. (Verdict
Form, Question B3.) This finding and the circumstances surrounding the distribution of the
Letter support the inference that Binzel U'S. intended that consumers rely on the Detroit
“Letter and not do business with Nu-Tecsys. The remaining question, then, is whether the
_jury’s finding of bad faith is supported by the evidence.
| The Detroit | Letter referted to | Nu-Teesys? goods as “counterfeit product.” As
confirmed by answers to intetrogatoties, Binzel itself never alleged that Nu-Tecsys
counterfeited its MIG guns. (Def. Exs. 1067, 1068.) The jury could properly have inferred
that Binzel U.S. never believed Nu-Tecsys’ goods to be counterfeit, and made the counterfeit
statement in the Detroit Letter knowing it was not true, e.g., in bad faith.

In so concluding, the court notes that it is unpersuaded by Binzel U.S.’s objections to
the Verdict Form. Binzel U.S. argues that the jury was not asked to specify the basis for its
finding of bad faith, and therefore, the jury may have improperly based its finding on Bridges’
intimations and the Canada Letter, conduct Binzel U.S. argues is lawful. Question B3 of the
Verdict Form, however, specifically asks the jury to consider, if they answered “yes” to
Questions B1 and B2, whether the false or misleading statements were made in bad faith.
Questions B1 and B2 both specifically ask the jury whether the statements in the Detroit

letter were false or misleading. Therefore, the jury did specify its basis for its finding of bad

15
 

prance Wenn eS Sea

 

 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 17 of 33 PagelD #:17

faith — the jury determined that the false statements i the Detroit Letter were made in bad
faith.

For the foregoing reasons, Binzel U.S.’s motion for judgment as a matter of law is
denied. In accordance with Federal Rule of Civil Procedure 59 (e), however, the court amends
the judgment entered on July 9, 1999 so that judgment is entered against Binzel U.S. only,
and not against Binzel Germany. The jury specifically found that Binzel Germany was not
responsible for the content of the Detroit Letter, the basis for Binzel U.S.’s liability. (Verdict
Form, Question B4.) Binzel U.S.’s motion to amend the judgment is granted.

Il. | Counter-Defendant’s Motion For A New Trial

Binzel U.S. sets forth two bases for ordering anew trial: it argues that a new trial is
warranted because the Canada Letter was improperly admitted into evidence; and it urges this
court to grant a new on trial on damages, arguing that the $4 million verdict was excessive
and not supported by the evidence.

A. Standard of Review

A motion for a new trial under Federal Rule of Civil Procedure 59 should be granted
when “the verdict is against the weight of the evidence, the damages are excessive, or if for
other reasons the trial was nov fair to the moving party.” See Mid-America Tablewares, Ine. 0
Mogi Trading Co., Ltd., 100 F.3d 1353, 1367 (7th Cir. 1996) (quoting McNabola v. Chicago
Transit Authority, 10 F.3d 501, 516 (7th Cir. 1993).

B. Introduction of Canada Letter

Binzel U.S. argues that the Canada Letter should have been excluded from evidence

16
 

Ve rBea bese tiies deities wield ko eae nie ae ieee com Ceebe e  b nce,

 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 18 of 33 PagelD #:18 -

because Nu-Tecsys failed to produce the letter in discovery and failed to identify the letter

in the pre-trial order. Binzel U.S. further contends that this erroneous evidentiary ruling

resulted in an unfair trial and therefore constitutes grounds for the granting of a new trial on

Nu-Tecsys’ counterclaims. Nu-Tecsys responds that it was Binzel U.S. who should have
produced the Canada Letter in discovery. According to Nu-Tecsys, counsel chose not to list

the Canada Letter in the final pre-trial order because the letter’s primary purpose was to

_ impeach Bridges’ testimony.

1. Discovery of the Canada Letter

Binzel US. requested from Nu-Tecsys production of “all documents tending to
support the loss of customers by Nu-Tecsys due to the conduct of [Counter-Defendant]
complained of in this action.” ((Counter-Def.’s] Memo in Support of Mot. for J. as a Matter
of Law and for a New Trial, at 14 n7, referring to Document Request No. 55.) Binzel U.S.
argues that the Canada Letter fell within the scope of production requests made to Nu-Tecsys
but was never produced, despite Nu-Tecsys’ obligation to supplement discovery responses.
In response, Nu-Tecsys argues that the letter was drafted by Bridges, and subsequently
signed by a representative of Binzel Canada, and therefore should have been produced in
response to Nu-Tecsys’ own discovery requests for documents in Binzel U.S.’s possession,
but was instead withheld by Binzel U.S. Moreover, Nu-Tecsys contends it had no duty, once

it came into possession of the letter, to supplement Document Request No. 55 because that

“request sought documents relating to sales figures and the like, not copies of Binzel U.S.’s

own documents.

. 17
 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 19 of 33 PagelD #:19

The court concludes that prompt production by Nu-Tecsys of the Canada Letter may
well have been the safest course. Nevertheless, the court believes Nu-Tecsys’ failure to
produce a document generated by Binzel U.S.’s own key witness did not violate the discovery
rules. The court recognizes that a patty seeking discovery “is not limited to facts exclusively
or peculiarly within the knowledge of the opponent. This is true even where the
interrogator has at his disposal an adequate or even better source of information.” See
Onofrio v. American Beauty Macaroni Co., 11 F.R.D. 181, 183 (W.D. Mo. 1951). Accord

United States v. 58.16 Acres of Land, 66 F.R.D. 570, 573 (ED. Ill. 1975); Rowe Spacarb, Inc. v.

~~ Cole Products Corp., 21 F.R.D. 311, 312 (ND. Ill, 1957); Grand Opera Co. v. Twentieth

Century-Fox Film Corp., 21 F.R.D. 39, 40 (ED. tL 1957). The cases cited by Binzel U.S. for
this principle are distinguishable, however; each holds that even if the discovering party has
a better source of the information sought already in its possession, the party responding to
the discovery request is still obligated to comply. In this case, the court concludes Binzel U.S.
should have had in its possession not only a source of the information requested, but the
original version of the Canada Letter. Nor does the court agree that the Canada Letter, a
document that Binzel U.S.’s main witness himself drafted, falis within a request for
documents reflecting Nu-Tecsys’ sales.
2. Canada Letter Not Included In Pre-Trial Order

Binzel U. s. urges ssthec court to order anew trial because the jury considered improperly
admitted evidence that was not included in the pre-trial order. Nu-Tecsys responds that the
Canada Letter was properly offered to impeach Bridges’ credibility as a witness, and was

18
 

 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 20 of 33 PagelD #:20

therefore properly excluded from the pre-trial order. In response, Binzel U.S. submits that
the Canada Letter was not used solely for impeachment purposes, but was used as substantive
evidence in Nu-Tecsys’ affirmative case.
| This court’s Final Pretrial Order form requires parties to identify all exhibits in the
‘pretrial order “except rebuttal exhibits,” see LOCALR. 16.1.1. The Federal Rules, likewise,
require pretrial disclosure of all exhibits to be used “other than solely for impeachment,” see
FED. R. Crv. P. 26(a}{3). Under Federal Rule of Civil Procedure 37(c)(1), evidence not
disclosed pursuant to Rule 26(a) must be excluded. The Seventh Circuit has held that “the
sanction of exclusion is smtomatic and mandatory unless the sanctioned party can show that
its violation of Rule 26(a) was either justified or harmless.” See Salgado by Salgado v. General
Motors Corp.,150 F.3d 735, 742 (7th Cir. 1998).

It is true that Nu-Tecsys initially offered the Canada Letter to impeach Bridges’

testimony that he never saw the letter, a letter which he actually later admitted to drafting.

_ Ttis equally true that the statements in the letter had substantive value with respect to Nu-

Tecsys’ affirmative case on most of its claims. Relying on a First and a Fifth Circuit case,

Binzel U, S. contends that evidence which is used both for impeachment and. for substantive

a purposes must be disclosed before trial. See Klonoski v. : Mala, 156 F.3d 255, 270 (ist Cir.

1998) (holding that evidence at issue was “at least j in part substantive, . [it] did not fall
within the ‘solely for impeachment exception of Fed. R. Civ. P. 26(a)(3)”); Chiasson v. Zapata

Gulf Marine Corp., 988 F.2d 513, 537-38 (th Cir. 1993)(vacating denial of motion for new

trial where impeachment evidence was used as substantive evidence but not disclosed prior

19
 

 

 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 21 of 33 PagelD #:21

1

to trial).

Although the Seventh Circuit has not explicitly ruled on this issue, two of its cases are
at least instructive here. DeBiasio v. Illinois Central Railroad, 52 F. 3d 678 (7th Cir. 1995), cert.
denied, 516 U.S. 1157 (1996) involved claims under the Federal Employers’ Liability Act and
the Federal Safety Appliance Act. During the trial, the defendant railroad called a witness
who had not been named in the pre-trial disclosures, but who had been qualified as an expert
during pre-trial deposition. On direct examination, the defendant railroad’s counsel asked
the witness to authenticate an exhibit which would have impeached the testimony of one of

plainciff’s S witnesses. The plainsitt objected ¢ on the grounds that the defendant had not

disclosed this witness or the exhibit as required by Federal Rule of Civil Procedure 26(a) (2 ’
and this court’s local rule. The defendant countered by arguing that insofar as the witness
was suthenticating the exhibit, he was merely an impeachment witness. The trial judge
sustained the plaintiff? s objection to testimony about the exhibit, but allowed the defendant’s
witness to co resily as an expert. On appeal, the Seventh Circuit found that the trial al ude
abused his discretion j in excluding the impeachment testimony, but chat tt the error was
harmless. See id. at 686. In concluding that the district court should have overruled plaintiff's

_ the objection, the Court of Appeals suggested J almost th the opposite of what Binzel U.S, argues

here; that it is an abuse of discretion to exclude evidence that is offered for impeachment

purposes, even if that same evidence has substantive value as swell. Like the Canada Letter in

this case, the evidence at issue in DeBiasio was not offered to prove an essential element of the
affirmative claims, but for impeachment purposes. See id

30°
 

 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 22 of 33 PagelD #:22

More recently, the Seventh Circuit considered this issue in a different context and
reached a different result. In Wilson v. AM General Corp., 167 F.3d 1114 (7th Cir. 1999), an
employment discrimination case, the defendant sought leave to call two witnesses not
disclosed on its witness list, arguing that these two sritesses were to be called only for
impeachment purposes. The district court denied the request, concluding that the two

_ witnesses were not merely rebuttal witnesses because these two individuals were qualified to
testify to the allegedly nondiscriminatory reasons for the defendant’s decision to discharge
the plaintiff. See id. at 1122. On appeal, the Seventh Circuit held that the trial judge did not
abuse his discretion in so ruling. /d. Finding that the proposed testimony was part of the
defendant’s primary line of defense, the Court of Appeals concluded that the two witnesses
should have been named in the Rule 26 pretrial disclosures. Jd. -

Neither of these cases is directly relevant here. In the absence of controlling authority, |
the court declines to affirmatively decide the issue here. Even if the evidentiary ruling
admitting the Canada Letter was erroneous, the court has already determined that a
reasonable jury could have found for Nu-Tecsys on its counterclaims based on evidence other
than the Canada Letter, and therefore its introduction was harmless. See DeBiasio, 52 F.3d
at 685 (“An erroneous evidentiary ruling is harmless . . . ‘unless there is a significant chance
that it has affected the result of the trial.’”) (quoting Walton v. United Consumers Club, Inc.,

"786 F.2d 303, 313 (7th Cir, 1986); FED. R. Civ. P. 61; FED. R. Ev. 103(a)). Furthermore,
the violation of a pretrial order does not warrant a new trial unless “the violation 50 surprised
the party complaining of it that it denied that party a fair hearing.” Exxon Corp. v. Exxene

BY
 

Case: -1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 23 of 33 PagelD #:23

Corp., 696 F.2d 544, 548 (7th Cir. 1982). Binzel US. can not make such a showing with
respect to a document that its own key witness authored.
- Binzel U.S.’s motion for a new trial on the grounds that the court erroneously
admitted the Canada Letter into evidence 1s denied.
C. Counter-Defendant’s Motion for New Trial on Monetary Relief
. Finally, Binzel U.S. urges the court to order a new trial on damages, arguing that the
jury’s award was based on insufficient evidence, and was unreasonably speculative and |
excessive. The jury awarded Nu-Tecsys $1.81 million dollars for lost profits and $3.03
million dollars in Binzel U.S.’s wrongful profits, totaling $4.84 million. The jury reduced
this figure to $4 million to account for the overlap between Nu-Tecsys’ lost profits and Binzel
U.S.’s wrongful profits. Nu-Tecsys contends that this award i supported by the evidence.
A jury’s damages award should stand unless there is “no rational connection between the
evidence on damages and the verdict.” See Mercado v. Ahmed, 974 F.2d 863, 866 (7th Cir.
1992) (quoting Lippo e Mobil Oil Corp., 776 F.2d 706, 716 (7th Cir. 1985)).
1. Evidence of Nu-Tecsys’ Lost Profits |
As Nu-Tecsys emphasizes, Karl-Heinz described sales lost to specific, identifiable
customers and prospective customers during his testimony. (Tr. 728-44, 764-72.) Some of
this testimony was stricken as hearsay and the credibility of some of this testimony was put

challenged during cross-examination. Nevertheless, on the ultimate issue of lost sales

_. damages, Karl-Heinz testified to an estimated lost sales of $150,000 per year from 1991 to

1998, totaling $1.2 million in lost sales during the relevant time period. (Tr. 796.) Karl-Heinz

99
 

aT

 

 

Case: 1:91-cv-02092 Document.#: 321.Filed: 03/23/00 Page 24 of 33 PagelD #:24.

further testified that after expenses, Nu-Tecsys’ profit margin is approximately fifteen percent
_of gross revenue. (Tr. 795-96.) Lost profits on the claimed $1.2 million in lost sales can
therefore be estimated at $180,000 (fifteen percent of $1.2 million), Because the jury found
that Nu-Tecsys suffered $1.81 million in damages for lost profits, it is clear that their verdict
was not based on Karl-Heinz’s testimony regarding lost sales to identifiable individual
customers. Rather, it is apparent that the j jury’ s verdict on Nu- w-Tecsys lost damages was based

on Karl Heinz’ s projections of what Nu Tees hoped to earn s beeween 1991 and 1998. The

~ court must ‘determine, then, whether the evidence forming the basis of this award was

~ sufficient to support the verdict. Even considering the evidence in a light favorable to the
jury’s verdict, the court concludes that the evidence was speculative.

-. The evidence at trial established that between the years 1991 and 1998, Nu-Tecsys

earned revenue between $1.3 million and $1.8 million per year, (Tr. 1271,) Karl-Heinz

testified that in 1990, he projected Nu-Tecsys’ sales to increase to between $4 and $7 million
annually. | (Tr. 713 ) Nu-Tecsys submitted no corroborating evidence that it ever made such
a projection in 1990. Furthermore, K Karl Hein claims to have based this projection only on
his previous ceapeience as President at Binz US. and“ “the feedback we got from our
distributors, the feedback we got back from our sdventising and simply from comments.”
(Tr. 71 1.) |
First, Nu-Tecsys does not point to any evidence in the record showing that during
Karl-Heinz’s tenure as President of Binzel US., the company experienced a “very nice gradual
increase” in sales. (Tr. 711.) This projection is highly speculative and not proven by

23
 

By ee ea

ine oe ea sane Rie Steed Eh A daa,

 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 25 of 33 PagelD #:25

“methodologies that... [do] not insult the intelligence.” See Zazu Designs v. L’Oreal, S.A.,
979 F.2d 499, 505 (7th Cir. 1992). Indeed, Nu-Tecsys points to no evidence showing how the
estimates were generated, nor any evidence that adjustments were made in the estimates
reflecting inflation or an increase in the price of materials. Nor does Nu-Tecsys provide
evidentiary support for the suggestion that Nu:Tecsys experience should have paralleled the
success achieved while Karl-Heinz was at the helm of Binzel U.S.

Nor has Nu-Tecsys offered support for the notion that the sole factor that prevented

- Nu-Tecsys from achieving its goals was the conduct of Binzel U.S. Instead, the jury must

_ have made a “leap of faith” to believe that in determining Nu-Tecsys would have earned two

to five times the amount of revenue during the relevant years, had Binzel U.S. not engaged
in unlawful conduct. See id, at 506 (in calculating an award of compensatory damages,
“allowance for uncertainty is one thing... and rank speculation is another.”); Mid-America
Tablewares, Inc. v. Mogi Trading Co., 100 F.3d 1353, 1368 (7th Cir. 1996) (an award must be
based on the record and cannot be based on “leaps of faith”); Otis Clapp & Son, Inc. v. Filmore
Vitamin Co., 754 F.2d 738 (7th Cir. 1985) (“The plaintiff failed to produce any evidence
supporting its assumption that, ‘it is reasonable to expect Otis Clapp to continue to grow at
its historical rates. ”). Simply put, the evidence does not support this award.

Second, the award i is also speculative because Karl. Heinz could not reasonably project

the growth of NuTeesys based on the past performance of Binzel U.S. Under Illinois law,

a new business, or an existing business with a new product, cannot recover lost profits

because the future profits of a new business cannot be ascertained with any degree of

24
 

BA ibe dae al et ea = EL eee

 

Case:.1:91-cv-02092 Document #: 321-Filed: -03/23/00-Page-26-0f-33-PagelD-#:26 ~~ meee

certainty. See Stuart Park Assocs. Ltd. Partnership v. Ameritech Pension Trust, 51 F.3d 1319,
1328 (7th Cir. 1995); Drs Selle & Conlon, Lid. v. Twin Oaks Realty, Inc., 143 IlLApp.3d 168,
174, 491 N.E.2d 912, 917 (2nd Dist. 1986). Nu-Tecsys falls under this “new business rule”
because it had entered into the MIG market only seven months prior to the time of the filing
of the lawsuit. (Tr. 715-16.) Past success in a similar enterprise does not alone provide a “self-
evident basis for generalizations” about projected sales. See Stuart Park, 51 F.3d at 1328; see
_ also Drs. Selke & Conlon, 143 Ill. App.3d at 174, 491 N.E.2d at 917 (“The long-standing rule
in Illinois is that lost profits may be a measure of damages where a business is interrupted, but
the business must have been established prior to the interruption so that the evidence of lost

profits is not speculative.” (citations omitted)). Therefore, Karl-Heinz’s fourteen years as

"President for Binzel U.S. do not provide the evidentiary basis necessary to support the jury’s

verdict on lost proiits to Nu-Tecsys in the amount of $1.8 million.
2. Evidence of Binzel U.S.’s Wrongful Profits”
Under the Lanham Act, once the alleged wrongdoer has been found liable, the
- prevailing party may receive damages reflecting the wrongdoer’s profits gained from the
unlawful conduct. See Web Printing Controls Co., Inc. v. Oxy.Dry Corp., 906 F.2d 1202, 1205
(7th Cir. 1990). Disgorgement of the wrongdoer’s profits may be awarded on three different
bases: compensation, unjust enrichment or deterrence. See sands, Taylor & Wood v. Quaker
Oats Co., 34 F.3d 1340, 1349 (7th Cir. 1994) (quoting Roulo v. Russ Berrie & Co., Inc., 886 F.2d
931, 941 (7th Cir. 1989). Binzel U.S. argues that on any of the three rationales, the jury’s
verdict on wrongful profits cannot stand. a | |

25
 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 27 of 33 PagelD #:27

The court agrees with Binzel U.S.’s argument that unjust enrichment could not form
the basis of the jury’s verdict on wrongful profits. Under the Lanham Act, an award of the
wrongdoer’s profits must bear some relationship to the unlawful conduct - e.g., grounded in
the benefit accruing to Binzel U.S. on account of its unlawful conduct. See Sands, Taylor &
Wood v. The Quaker Oats Co., 34 F.3d 1340, 1349 (7th Cir. 1994). Here, the amount of
wrongful profits awarded by the jury exactly parallels the amount of profits Binzel U.S.
earned on all its MIG sales during the relevant time period. (Tr. 1070.) The record shows
that Binzel U.S. had made MIG sales prior to the issuance of the Detroit Letter. The court
concludes that no reasonable jury could have found that Binzel U.S. was unjustly enriched
by every single MIG sale it made from 1991 through 1998; put another way, not every MIG
sale made by Binzel U.S. during this time was a direct result of its unlawful conduct towards
Nu-Tecsys.

Having concluded that unjust enrichment does not furnish a basis for the jury’s
wrongful profits award, the court considers two other potential rationales for the verdict:
compensation or deterrence. Binzel U.S. urges that compensation also does not furnish a
basis for the award. According to Binzel U.S., disgorgement of wrongful profits is most
appropriate when actual damages are otherwise minimal; a separate award for wrongful
profits might over-compensate an injured party, “creating a windfall judgment at the [liable
party’s] expense.” See BASF Corp. v. Old World Trading Co., 41 F.3d 1081, 1096 (7th Cir.
1994) (quoting George Basch Co. v. Blue Coral, Inc., 968 F.2d 1532, 1540 (2nd Cir. 1992)). Nu-

Tecsys’ award of lost profits is not nominal here, and the court agrees that the additional

26
 

See dt a eke

petra ete eth eee cele sb wees er ee Bee

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 28 of 33 PagelD #:28

wrongful profits may fairly be characterized as a windfall. As noted, the jury’s wrongful
profits award to Nu-Tecsys amounts to the equivalent of Binzel U.S.’s total MIG sales during
the relevant time period. Although the jury ultimately subtracted nearly $1 million from the
total amount of damages awarded, representing an overlap in Binzel U.S.’s wrongful profits
and Nu-Tecsys’ lost profits, the court concludes that the jury award exceeds mere
compensation to Nu-Tecsys for its injuries.

Finally, an award of wrongful profits may be appropriate to deter the liable party
from continuing its wrongful conduct. See Sands, 34 Fd at 1349. Nevertheless, the Lanham
Act forbids the court from allowing a recovery that is 50 excessive as to constitute a penalty.
See 15 U.S.C. § 1117; see also Otis Clapp, 754 F.2d at 744, Based on its bad faith finding, the
jury could have inferred that Binzel U.S. continued its wrongful conduct through the time
of the trial and intended to continue such conduct in the future, In these circumstances, an
imposition of an ward for purposes of deterrence is appropriate.

The court co ncludes, nevertheless, that the award here - which results in disgorgement
of all Binzel U.S.’s MIG profits during the relevant years - is so excessive as to constitute a
penalty. It appears that in attempting to deter Binzel U.S., the jury ordered the disgorgement
of all its MIG profits during the relevant years. Rather than order a new trial on damages,
however, the court will exercise its discretion to enter judgment for a sum that it finds just,
according to the circumstances of the case. See 15 U.S.C. § 1117. First, the court concludes
that Defendant adequately showed that it suffered an amount of lost profits equal to $180,000

from 1991 through 1998. The court also believes an award of wrongful profits is warranted

27
 

wane ede AR inti ee ee le ea ete Meade ce he Be ee cee eee

sesGiieBi! WB w

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page. 29 of 33 PagelD #:29

in these circumstances. Rather than attempt to arrive at a wrongful profits figure on its own,
the court will reduce the final award of damages by $1.63 million. This amount is calculated
by subtracting $180,000 from the $1.81 million lost profits award. In conclusion, the court
reduces the final $4 million total award by $1.63 million, thereby also reducing the award for
the amount of wrongful profits that constituted a penalty. Accordingly, the court orders
remittitur, reducing Defendants’ award of damages from $4 million to $2.37 million.

WI. Counter-Plaintiff’s Motions for Attorneys’ Fees and Enhanced and Punitive
. Damages

Nu-Tecsys has moved the court for an award of enhanced damages under the Lanham
Act, punitive damages under Illinois common law, and attorney’s fees under the Lanham Act
and under the Illinois Consumer Fraud and Deceptive Business Practices Act. Under the
Lanham Act, a district court, in its discretion, may enhance the damage award when the
violation indicates a need for deterrence, particularly when actual damages and profits are not
easily ascertainable. See Sands, 34 F.3d at 1356-1352. Likewise, under Illinois law, punitive
damages are justified in cases where a wrongdoer commits a tort with “actual malice.” See
Martin 0 Heinold Commodities, 163 Thl.2d 33, 643 N.E.2d 734, 757, The standard for
attorneys’ fees is the same under both the federal and state statutory claims. See Door Systems,
Inc. v. Pro-Line Door Systems, Inc., 126 F.3d 1028, 1032 (7th Cir. 1997). A court can exercise
its discretion to award attorneys’ fees when a case “so lacked merit'and was so burdensome
to defend against that it could fairly be described as oppressive.” See id at 1030.

Without ruling on the merits of each of these motions, the court denies all three.

28
 

 

 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 30 of 33 PagelD #:30

Given its ruling that the jury award is based, at least in part, on deterrence, the court declines
‘to exercise its discretion to supplement that award with other damages and fees. To the
extent any of Nu-Tecsys’ damages and fees motions have merit, the court believes the award
adequately reflects the need to deter wrongful conduct on the part of Binzel U.S.
CONCLUSION
For the foregoing reasons, Binzel U.S.’s motion to amend the judgment (Doc. No.
297-1) is granted; Binzel U.S.’s motions for judgment as a matter of law (Doc. No. 298-1) and
a new trial Doc. No. 298-2) are denied; and No-Teesys’ motions for attorneys’ fees and
enhanced and punitive damages (Doc. Nos. 314-1, 2, 3) are denied. The court further orders
that radgment against Binzel Germany be vacated, and that the award be reduced from $4
million to $2.34 million. Both parties’ motions for directed verdict (Doc. No. 289-1} and
(Doc. No. 290-1) are denied as moot. Finally, Nu-Tecsys’ motion to lift the stay of judgment
(Doc. No. 319-1) pursuant to FED, R. Crv. P. 62(b) is granted without prejudice.

ENTER:

Dated: March 23, 2000 Maer thes
wor _ °. | REBECCA RYPALLMBYER
_ United States District Judge

29
 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 31 of 33 PagelD #:31 - -

Separator Page for Case Number 1:98-cv-03953
Document Number: 40
Docketed By: hp
Thee odie HE a

(oo SE RTE Ee

 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 32 of 33 PagelD #:32

Minute Order Form (06/97)

™

United States District Court, Northern District of Mlinois

 

 

 

 

 

 

 

 

 

 

 

 

 

NameofAsined niet | Elaine E. Bucklo _| “lng Jade One

CASE NUMBER 98 C 3953 DATE 3/23/2000

CASE Johnson vs. St. Bernard Hospital

TITLE

[In the following box (a) indicate the party filing the motion, ¢.g., plaintiff, defendant, 3rd party plaintiff, and (b) state briefly the nature
MOTION: of the motion being presented.]
DOCKET ENTRY:
qd) Filed motion of [ use listing in “Motion” box above.]
(2) 0 Brief in support of motion due
(3) Oo Answer brief to motion due . Reply to answer brief due
(4) O Ruling/Hearing on set for at
(3) a Status hearing set for 4/7/00 at 10:30 A.M..
(6) O Pretrial conference[held/continued to] [set for/re-set for] on setfor at
(7) O Trial[set forf/re-set for]on sat
(8) O [Bench/Jury trial] [Hearing] held/continued to at
(9) [] This case is dismissed [with/without] prejudice and without costs[by/agreement/pursuant to]
CIFRCP4(m) [General Rule21 OOFRCP41(a)(1) [ FRCP41(a)(2).

ao) [Other docket entry] Mr. Nate F. Scarpelli’s and his law firm’s motion for leave to withdraw

status.

(11) f [For further detail see order (on reverse side oghached san original minute order.]

 

No notices required, advised in open court.

 

No notices required. .
number of notices

 

Notices mailed by judge’s staff.

 

Notified counsel by telephone.

 

¥ | Docketing to mail notices.

 

Mail AO 450 form.

 

Copy to judge/magistrate judge.

 

 

2
a
”

. courtroom? HA &
MPI deputy’s
initials

date mailed notice

HF brea
Date/time received in
central Clerk’s Office

 

 

 

 

mailing deputy initials

appearances as counsel for plaintiff is granted. Plaintiff shall appear in court at the next status hearing.
A new date for filing the response to defendants’ motion for summary judgment will be set at the next

 

 
    
   
 

 

 

 
OREN Pn IS ae

ete i ee tes

 

Case: 1:91-cv-02092 Document #: 321 Filed: 03/23/00 Page 33 of 33 PagelD #:33

United States District Court
Northern District of [linois

In the Matter of
Johnson
Vv. Case No. 98 C 3953
St. Bernard Hospital, et al. Designated Magistrate Judge

Martin C. Ashman

Nockered

ORDER GRANTING RELIEF FROM R24 7000
PRO BONO APPOINTMENT MA

The request of Nate F. Scarpelli for relief from appointment as counsel for Terrry Johnson
in accordance with Local Rule 83.38A of this Court is granted. In addition, counsel’s name shall
be returned to the current pro bono panel for possible appointment in another case during the
current panel year.

Lote Zz Buhl

Judge Elaine E. Bucklo

 

Dated: March 23, 2000

Relief from Pro Beno Appointment (Rev. 9/99}
